Case 6:12-me-00108-GAP-TBS Doeument 1 Filed 09/26/12 Page 1 of 8 Page|D 1

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FEI)]`ERAL DEPOSIT INSURANC];E
CORI)ORA'I`ION. as Rcceive:‘ 1`or Integra
Ban|\', N.A._._
MlSCELLANEOUS ACTION
Plaintil`l`S,

Case No. Lp`.l'[_'m[ ‘ \CS" 0 €_,L ’:SU%B
V.
Principal ease pending in Soulhern
Distz'iet ol` Indiana. Ci\-'il Aelion No.
3:1 l-ev-O()O l 9-RLY-WGH

FIDELlTY AND DEPOSI'I` COMPANY
OI"` MARYIJANI),

\-,_r\_/\_/\-._#'\._/\-...r-_/\-._/\~_/\.._/\v-'\_/\_/

Dcf`endant.

 

PLAIN'I`IFF Fl)IC-RECEIVER’S M()'I`ION FOR I)ISCLOSURE ()F
GRANI) JURY MA'I`ERIALS ANI) MEMORANDUM ()F LEGAL AUTHORITY

Pttrsuant to Federal Rule ot`Criminal Procedurc 6(e)(3(l.i)(i) Plaintil`l` l~`edcral
Deposit insurance Corporation, as Rccei\-'cr for Inlegra Bank, N.A. ("FDIC-Receiver"),
by its undersigned counsel, respectfully requests the Court to issue an order directing the
disclosure of matters occurring before a grandjury investigation into the illegal conduct
of l.ouis .l. l)earlman and others. In support oi`ils motion_, FDIC-Receiver states the
following

l. El`[`eetive l"rom .luly l. 2007 to Jul_v l._ 2(}1[), Integra Banl< was insured
under a "'l"`inancial Institution Selcct Bond"` issued by the Fidclity and Deposit Company
of` Maryland (or “I"&D"}. Coverage "A” provides that an "‘Insured"' shall be indemnified
ior "[l]oss resulting directly l`rom dishonest or fraudulent acts committed by an

emplo)-'ee."'

Case 6:12-mc-00108-GAP-TBS Document 1 Filed 09/26/12 Page 2 of 8 Page|D 2

2. On February ll_. 201 l, Integra Bank initiated a proceeding against I"&D in
the Southern Distriet ol` indiana seeking damages and declaratory reliel` to recover under
bond coverage “.""A lntegra (sincc replaced as plaintiff by the FDlC-Receiver) seeks
indemnification related to eight fraudulent and dishonest loans orchestrated by an lntegra
loan ol`licer_. Stuart I"iarringt'on (“l-larrington")_. at the behest ol` llouis J. l’earlman
(“l)cat'lntan”).

a. l?&D denied coverage l`or these losses in part because l`~`&l) \\a'ongl`ully
claimed that there was no evidence that l-larrington was involved in Pearlman’s
fraudulent scheme while he was employed at lntegra.

4. On or about June 2?_. 200?, a grand jury converted in the Middle District ot`
l"lorida and returned a criminal indictment against l’earlrnan relating to the execution ol`
an elaborate scheme to del`raud l~`I)IC-insured linancial institutions, including Intcgra
Banl<. 'l`he indictment was tiled in United Statcs Distriet Cottrt l`or the Middle District ot`
Florida and assigned case number 6:0?-er-00{}9?-GKS-DAB.

5. Upon information and belief`. the investigation into Pearltnan’s scheme
resulted in the grand jury`s acquisition ol`documents and information pertaining to
Harrington`s relationship with Pearlman and l-larrington”s involvement in the schezne.
These records are currently in thc possession ofthc U.S. Attorney’s Oi`lice for the Middle
Distriet of`Florida, Orlando Division.

6. Under the Federal Rules ol` Criminal l’rocedure, a court tnay authorize
disclosure ot` matters occurring hel`ore a grand jury preliminarily to or in connection with

ajudicial proceeding upon a showing that the material is "`(a) necessary to avoid a

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Case 6:12-mc-OOlO8-GAP-TBS Document 1 Filed 09/26/12 Page 3 of 8 Page|D 3

possible injustice in anotherjudicial pt'occcding, (b) the need for disclosure is greater
than the need for continued seerecy. and (c) thc request is Structurcd to cover only
necessary material." la re Gmna'Jttr)-', l l?` F. App’x 52?, 530 (‘}th Cir. 2004) (citing
Dottg!a.s' Ot`l (,'0. t'. Pe.fro! Stops t\-lorthtt-'e.r!, 441 U.S. 21 l, 222 (19?`9)); see also l"cd. R.
Critn. P. 6(c)(3)(1.i)(i). 'fhe Rule permits the disclosure of materials for use in civil
litigation I_ct/£t_t'etre (_.'r)tutty. .-lfft'.s's. tx Y`r)!rtl Pl'mt Servs., ftte._, t\‘o. 3:0?€\“'98, 2009 Wl.r
3823184, at *l {N.I). Miss. Nov. 12_. 2009).

?. 'l`hc FDlC-Reeeiver has a substantial, particularized need for the requested
grand jury materials that outweighs atty continued interest in grand jury secreey.
Information regarding I~larrington`s involvement in Pearlman"s schcme, both during and
after his employment at Integra. will assist the FDlC-Receivcr in proving its coverage
"r\"` claims_

S. /\s part of its own investigation, lntegra learned that l-larrington, while an
employee of lntcgra and in collusion with I’earlman and others. submitted fraudulent
financial statements tax returns_. and other information to lntcgra to fraudulently obtain
numerous loans for and on behal fof l)earltnan and certain ofthe llearlman Relatcd
Cotnpanics.

9. Intcgra conducted a deposition of Pcarlman on .lune 15-16, 2010 and .Iul_v
2?-28. 2010. 1’earlman consistently and credibly testified that l-larrington had to have
known that the financial statements. tax rcturns, and other information submitted by
llearlntan and thc l’carlman Rclated Companies to Integra as part of the loan underwriting

process were false and misleading

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Case 6:12-mc-OOlO8-GAP-TBS Document 1 Filed 09/26/12 Page 4 ot 8 Page|D 4

10. Pearlman also testified that l-larrington likely received payments from
Pcarlman`s associates to ensure that lntegra accepted the fraudulent financial docutnents.
llarrington`s bank rccords, showing large deposits in excess of his regular income_.
corroborate I’earlman`s testitnony. ln addition_. I’earlrnan testified that Harrington
received valuable gifts as compensation for his participation in the fraud.

l l. lntegra conducted a deposition of l farrington on May 25, 2010.
l~larrington asserted his Fif`th Amendment right against self-incrimination and. with the
exception of some basic personal information, refused to answer atty questions related to
his employment history and involvement with l’earlman, associates of Pcarlrnan, or the
Pcarltnan l{elated Companics. 'l`lte assertion ofthe Fifth /\Inendmcnt by a key witness is
one circumstance that justifies disclosure of grand jury transcripts under Rule 6(e). fn re
('.'t)rt'trgct.'ed C.`ottt’ctt`ttet' Atrt'."t'rttsl’ Lt`tig., 63? l".2d 52. '? (Sth Cir. 1982) (aflirming
disclosure of gt'andjury testimony where key witnesses asserted the Fif`th ./-\mendment in
depositions}.

12. lividence collected during the grand jury investigation is necessary to
further corroborate l)earlman’s testimony and to clarify the bank records that lntegra has
obtained to date. Although the FDlC-Rcceivcr obtained bank records indicating that
l-larrington received thousands ofdollars beyond his lntegra salary, tracing the source of
those funds has proven challenging due to the fact that the relevant bank records are from
the 1992-2000 time pcriod. 'l`he I?DlC-Receiver has subpoenaed bank records related to
suspicious deposits originating from five different banks. I€ach bank_. however, notified

the FI)lC-Rcceiver that it no longer retained records from the requested time period.

Case 6:12-mc-OOlO8-GAP-TBS Document 1 Filed 09/26/12 Page 5 ot 8 Page|D 5

Since the grand jury investigation began several years ago_. it is likely that the grandjury
was able to obtain bank records that are no longer itt the banks" possession.

13. r'\dditionally, the FDlC-Receiver expects that the gt'andjury materials will
contain correspondence between I-Iarrington, Pear|rnan._ and l’carltnan`s co-conspirators
that will provide further evidence ofHarrington`s knowing involvement in the scheme
during the time he was employed at lntegra. Even correspondence between these parties
after 1-|arrington left lntegra potentially will provide evidence of l-Iarrington’s knowledge,
intent, motive. and opportunity to further Pearlntan’s scheme while at lntcgt'a.
Accordingly. the grandjury materials are expected to contain non-duplicative evidence
that will assist the l"DlC-Receiver in proving its claims against l`-`&D and recovering the
insurance proceeds to which it is entitled.

14. 'I`hc I-`I)lC-Recei\-'er"s need f`or disclosure greatly outweighs any need for
continued secrecy. Gcnerally, once a grand jury has returned an indictman the accused
has been apprehended and the grand jury has been discharged “the veil of secrecy
surrounding grand jury proceedings may safely be lifted where justice requit'es."’ ]tt re
G)‘ctmf.}nrj»' investigation l/'en-Fnef, 510 F. Supp. 104?`, 1053 (M.l). 1"1a. 1981); see also
fn re G:'rttttf./'ttt'__t»*, 583 17.2(1 123, 130-31 (5111 Cit‘. 19?8) (l’ermitting disclosure because
"[t]he indicted will not llee; the investigation has not been impeded; witnesses cannot be
bribed or intimidatcd; it is less likely that an innocent person will suffer injury to his
reputation."). l)earlntan pled guilty over four years ago and has been sentenced to 25
years in l"cderal prison. Any remaining need for secrecy is outweighed by the FDIC~

Rccei\'er`s need for the investigative materials

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Case 6:12-mc-OOlO8-GAP-TBS Document 1 Filed 09/26/12 Page 6 ot 8 Page|D 6

15. Counsel for the l-`l)IC-Rcceiver contacted AUSA Roger l'Iandberg ofthe
United Statcs Attorneys’ Ot`fice in the l\»liddlc District ofFlorida and requested the grand
jury materials described herein. l`vlr. l-landberg confirmed that he could not disclose thc
materials without an order from the court. 'fhc li`DlC-Receiver now seeks such an order.

16. Accordingly, the l"`DlC-Reeeivct' requests access to all grand jury
materials relating to Harrington`s relationship with l’carlmatt and l'larrington’s
knowledge of`or in\-’olventcnt in Pearlman"s scheme. both before and after l-larrington lcf`t
lntegra Banl-t. including all bank records related to l-larrington, Pearlman. Pearltnan’s
entities. and Pearltnan’s associates

l"l)lC-Receivcr respectfully requests that the Court grant its Motion for
Disclosure of Grand Jury Materials and order the U.S. Attorney’s Ol"liee in the Middlc
District of lilorida, Orlando Division, to produce these records to FDIC-Receiver.
l`)ated: Septcmber 25, 20]2

Respcctfully subtnitted,

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/\ttorncy for the FDIC as Receiver for
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Case 6:12-mc-OOlO8-GAP-TBS Document 1 Filed 09/26/12 Page 7 ot 8 Page|D 7

UN|'I`F.I) STATES l)lSTRICT COURT
Mll)l)l_.E I)ISTRICT ()F FI_.()RIDA
()RL.ANI)O DIVISION

IFIF.DIERAL DEPOS]T INSURANCI§
CORPOR:\TION as Reccivcr for lntegra
Bank. t\l.r\..

l’laintiffs. t\»llSCELLANEOUS ACTION

v. C asc No.

lill)lel'l`Y ANI) DlEI’OSl'l` C()l\/'ll).t\NY
Ol" .-\'IARYI,ANI).

Principal case pending in Southern
District of lndiana. Civil Action No.
3:1 1 -cv-00019-R1.Y-\\"GH
l)cfcndant.

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CERTIFICATI£ OF S`ERVICE
1 hereby certify that on Septcmbcr 25_. 2012, a copy of the foregoing Plaintiff
.Fl)IC-Reccivcr’s Mot'ion for I)iselosttrc of Gt‘and Jury Matcrials and Memorandum
of chal Authority was served on the following parties by electronic mail and U.S. First
Class l\/lail, postage prc-paid:

Scott Schmooklcr

 

Regina A. Riplcy Rogcr l-landbcrg

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[Signaturc on following page]

Case 6:12-mc-OOlO8-GAP-TBS Document 1 Filed 09/26/12 Page 8 ot 8 Page|D 8

[Signature page to “Certilicate ol`Scrvice"]

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